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From:            Alejandra Salinas
To:              Dozier, Wesley
Subject:         [EXT] FW: Authors Guild, et al. v. OpenAI, et al.
Date:            Wednesday, December 4, 2024 5:07:19 PM




Alejandra C. Salinas | Susman Godfrey LLP
o. 713.653.7802 | c. 956.337.0910



From: Alejandra Salinas <ASalinas@susmangodfrey.com>
Date: Monday, December 2, 2024 at 5:59ௗPM
To: Najemy, Laura <lnajemy@orrick.com>
Cc: Hurst, Annette L. <ahurst@orrick.com>, Briant, Jared B.
<jared.briant@faegredrinker.com>, carrie.beyer <carrie.beyer@faegredrinker.com>,
Schreiber, Andrew <aschreiber@orrick.com>, Geman, Rachel <rgeman@lchb.com>
Subject: Re: Authors Guild, et al. v. OpenAI, et al.

Thank you.

Alejandra C. Salinas | Susman Godfrey LLP
o. 713.653.7802 | c. 956.337.0910



From: Najemy, Laura <lnajemy@orrick.com>
Date: Monday, December 2, 2024 at 6:52ௗPM
To: Alejandra Salinas <ASalinas@susmangodfrey.com>
Cc: Hurst, Annette L. <ahurst@orrick.com>, Briant, Jared B.
<jared.briant@faegredrinker.com>, carrie.beyer <carrie.beyer@faegredrinker.com>,
Schreiber, Andrew <aschreiber@orrick.com>, Geman, Rachel <rgeman@lchb.com>
Subject: RE: Authors Guild, et al. v. OpenAI, et al.
EXTERNAL Email
Alejandra,

Thank you. We can confirm that this agreement resolves this issue in Microsoft’s motion.

Best,
Laura

Laura B. Najemy :: Orrick :: 617 880 1889

From: Alejandra Salinas <ASalinas@susmangodfrey.com>
Sent: Monday, December 2, 2024 4:42 PM
To: Najemy, Laura <lnajemy@orrick.com>
Cc: Hurst, Annette L. <ahurst@orrick.com>; Briant, Jared B. <jared.briant@faegredrinker.com>;
carrie.beyer <carrie.beyer@faegredrinker.com>; Schreiber, Andrew <aschreiber@orrick.com>;
Geman, Rachel <rgeman@lchb.com>
Subject: Re: Authors Guild, et al. v. OpenAI, et al.
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[EXTERNAL]

Laura,

Thanks for your email. With the understanding that this will resolve Microsoft’s motion on this issue,
Plaintiffs are willing to agree to ask our agents and publishers for the information you listed below
(and repeated here) as it relates to the class works.

   1. sales reports
   2. royalty reports
   3. option payments
   4. license payments
   5. licensing/publishing agreements
   6. covenants not to sue
   7. settlements
   8. any reports, forecasts, or studies regarding the valuation of and/or market

Please confirm we have an agreement. Feel free to give me a call on my cell at 956-337-0910 if you
have any questions.

Thanks,
Alejandra


Alejandra C. Salinas | Susman Godfrey LLP
o. 713.653.7802 | c. 956.337.0910



From: Najemy, Laura <lnajemy@orrick.com>
Date: Monday, December 2, 2024 at 11:20ௗAM
To: Alejandra Salinas <ASalinas@susmangodfrey.com>
Cc: Hurst, Annette L. <ahurst@orrick.com>, Briant, Jared B.
<jared.briant@faegredrinker.com>, carrie.beyer <carrie.beyer@faegredrinker.com>,
Schreiber, Andrew <aschreiber@orrick.com>
Subject: RE: Authors Guild, et al. v. OpenAI, et al.
EXTERNAL Email
Alejandra,

Yes, if Plaintiffs agree to seek these documents from their literary agents and publishers and provide
them to us, we can consider this issue in our motion resolved.

Thank you,
Laura

Laura B. Najemy :: Orrick :: 617 880 1889

From: Alejandra Salinas <ASalinas@susmangodfrey.com>
Sent: Monday, December 2, 2024 11:06 AM
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To: Najemy, Laura <lnajemy@orrick.com>
Cc: Hurst, Annette L. <ahurst@orrick.com>; Briant, Jared B. <jared.briant@faegredrinker.com>;
carrie.beyer <carrie.beyer@faegredrinker.com>; Schreiber, Andrew <aschreiber@orrick.com>
Subject: Re: Authors Guild, et al. v. OpenAI, et al.


[EXTERNAL]
Laura,

Thanks for your email. I will discuss with my team and get back to you. Just to confirm, is it Microsoft’s
position that if we provide these categories of documents, Microsoft’s motion on this issue will be
resolved?

Alejandra C. Salinas | Susman Godfrey LLP
o. 713.653.7802 | c. 956.337.0910


         On Dec 2, 2024, at 8:31ௗAM, Najemy, Laura <lnajemy@orrick.com> wrote:


         EXTERNAL Email
         Hi Alejandra,

         Just circling back on this. Let me know if you would like to hop on a call today to discuss.

         Thanks,
         Laura

         Laura B. Najemy :: Orrick :: 617 880 1889

         From: Najemy, Laura
         Sent: Wednesday, November 27, 2024 2:37 PM
         To: asalinas@susmangodfrey.com
         Cc: Hurst, Annette L. <ahurst@orrick.com>; Briant, Jared B.
         <jared.briant@faegredrinker.com>; carrie.beyer <carrie.beyer@faegredrinker.com>;
         Schreiber, Andrew <aschreiber@orrick.com>
         Subject: Authors Guild, et al. v. OpenAI, et al.

         Alejandra,

         Following up on your phone call last week, below please find a list of specific
         documents (or types of documents) that we would like the individual plaintiffs to
         request from their agents and publishers:

            1. sales reports
            2. royalty reports
            3. option payments
            4. license payments
            5. licensing/publishing agreements
            6. covenants not to sue
            7. settlements
            8. any reports, forecasts, or studies regarding the valuation of and/or market
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                  for any of the Author Plaintiffs' Copyrighted Works

        Please let us know if they are each willing to make these requests and whether
        can narrow the dispute at all that is before the Court.

        Thank you,
        Laura

        Laura B. Najemy
        Partner


        Orrick
                  <image001.jpg>
        Boston
        T +1-617-880-1889
        M +1-413-478-6502
        lnajemy@orrick.com

        <image003.png>




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